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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

TERRANCE DWAYNE WILLIAMS,              *
# 06406-003,                           *
                                       *
       Petitioner,                     *
                                       * CRIMINAL NO. 19-00053-WS-B
vs.                                    * CIVIL ACTION NO. 21-00252-WS-B
                                       *
UNITED STATES OF AMERICA,              *
                                       *
       Respondent.                     *

                                   ORDER

       After due and proper consideration of all portions of this

file   deemed   relevant    to   the   issues   raised,   and     a   de   novo

determination of those portions of the Report and Recommendation

to which objection is made, the Report and Recommendation of the

Magistrate Judge made under 28 U.S.C. § 636(b)(1)(B) and dated

February 15, 2024 (Doc. 129) is ADOPTED as the opinion of this

Court.    It is ORDERED that Petitioner Terrance Dwayne Williams’

Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C.

§ 2255 (Doc. 84) and “Second-In-Time Motion Pursuant to 28 U.S.C.

§ 2255” (Doc. 111), which the Court construes as a motion for leave

to amend the initial § 2255 motion, are DENIED, that this action

is DISMISSED with prejudice, and that Petitioner Williams is not

entitled to the issuance of a certificate of appealability or to

proceed in forma pauperis on appeal.
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                12th day of ________,
      DONE this ____        March     2024.


                                         ____________________________
                                         UNITED STATES DISTRICT JUDGE
